Case:24-12624-KHT Doc#:323 Filed:03/04/25 Entered:03/04/25 08:38:44 Pagel of 4

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

IN RE: )
) Case No. 24-12624-KHT
DNC AND TCPA LIST SANITIZER, LLC )
EIN: XX-XXXXXXX ) Chapter 11
) Sub-Chapter V
Debtor )
CERTIFICATE OF SERVICE

I do hereby certify that on this 4"° day of March 2025, a true and correct copy of the
FOURTH AMENDED SUB-CHAPTER V PLAN OF REORGANIZATION
DATED FEBRUARY 26, 2025, AND BALLOT were served via United States Mail,
postage prepaid and addressed as attached:

And the Ballot was served upon the following parties via e-mail:

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/s/ Nichole Garber
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The preferred mailing address (p} above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

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